                 Case 16-10255                    Doc 8          Filed 07/28/16 Entered 07/28/16 22:20:51                       Desc Main
                                                                   Document     Page 1 of 38                                                     7/28/16 10:00PM




 Fill in this information to identify the case:

 Debtor name         Carriage Park Associates, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)         16-10255
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 28, 2016                           X /s/ Dale A. Hamlin
                                                                       Signature of individual signing on behalf of debtor

                                                                       Dale A. Hamlin
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Carriage Park Associates, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)               16-10255
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $       11,040,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,003,600.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       12,043,600.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       13,651,677.59


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            65,918.55

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,235,481.80


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         14,953,077.94




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Carriage Park Associates, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)         16-10255
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                      $0.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number

 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                           $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Carriage Park Associates, LLC                                                 Case number (If known) 16-10255
                Name

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           office furniture, etc                                                            $0.00                                           $2,500.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                $2,500.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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 Debtor         Carriage Park Associates, LLC                                                 Case number (If known) 16-10255
                Name



 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Lawn mower and a utility trailer.                                                $0.00    Comparable sale                         $1,100.00



 51.       Total of Part 8.                                                                                                              $1,100.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used      Current value of
           property                                       extent of           debtor's interest      for current value          debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. spec house 245
                     Millbrae Loop
                     Hendersonville, NC
                     28791                                                           $390,000.00     Comparable sale                      $390,000.00


           55.2.     model home 20
                     Narrow Run Loop
                     Hendersonville, NC
                     28791- this home
                     does not have a tax
                     value because the
                     house was built on
                     one of the lots owned
                     by Carriage Park. The
                     lender never updated
                     the deed of trust to
                     include the
                     improvement to the
                     lot.                                                            $650,000.00     Appraisal                            $650,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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 Debtor         Carriage Park Associates, LLC                                                 Case number (If known) 16-10255
                Name

            55.3.    76 platted and
                     recorded lots
                     150 potential lots that
                     have not been
                     plaated or recorded                                                    $0.00                                     $10,000,000.00




 56.        Total of Part 9.                                                                                                        $11,040,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used     Current value of
                                                                              debtor's interest        for current value         debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Carriage Park owns business documents that
            contain intellectual property pertaiing to
            strategies for successful land development                                      $0.00                                       $1,000,000.00



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                        $1,000,000.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 4
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 Debtor         Carriage Park Associates, LLC                                                Case number (If known) 16-10255
                Name

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 5
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 Debtor          Carriage Park Associates, LLC                                                                       Case number (If known) 16-10255
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $2,500.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $1,100.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $11,040,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                              $1,000,000.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,003,600.00            + 91b.           $11,040,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $12,043,600.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 6
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 Fill in this information to identify the case:

 Debtor name         Carriage Park Associates, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)             16-10255
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Arendale Holdings
 2.1                                                                                                                   $13,564,835.00            $10,000,000.00
       Corporation                                    Describe debtor's property that is subject to a lien
       Creditor's Name                                Multiple lots, Carriage Park Subdivision
       420 Marsh Landing
       Boulevard, Suite 100
       Jacksonville Beach, FL
       32250
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Brenda E. Altschul                             Describe debtor's property that is subject to a lien                   $86,842.59          $10,000,000.00
       Creditor's Name                                Multiple lots at Carriage Park Subdivision
       c/o Ervin W. Bazzle
       Bazzle, Carr & Parce, P.A.
       P.O. Box 608
       Hendersonville, NC 28793
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       Carriage Park Associates, LLC                                                           Case number (if know)       16-10255
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




                                                                                                                              $13,651,677.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        59

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Carriage Park Associates, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)           16-10255
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $65,918.55         $0.00
           Henderson County Tax Collector                            Check all that apply.
           Attn: Sherri Staton, Deputy Tax                              Contingent
           Collecto                                                     Unliquidated
           200 N Grove St. Suite 66                                     Disputed
           Hendersonville, NC 28792
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For information purposes only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $0.00      $0.00
           Internal Revenue Service                                  Check all that apply.
           P.O. Box 7346                                                Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     For informational purposes only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 13
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 Debtor       Carriage Park Associates, LLC                                                           Case number (if known)            16-10255
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,269.23
          4X4 Country & Cub Cadet, Inc.                                         Contingent
          1 Meadowlark Lane                                                     Unliquidated
          Hendersonville, NC 28792                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $375.00
          AAA Septic Service, Inc.                                              Contingent
          11 Cureton Place                                                      Unliquidated
          Hendersonville, NC 28791                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,250.00
          Able Septic Tank Service                                              Contingent
          20 Brownwood Avenue                                                   Unliquidated
          Asheville, NC 28806                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $19,159.80
          ABR Services, Inc.                                                    Contingent
          209 E. Chestnut Street                                                Unliquidated
          Asheville, NC 28801                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $24,000.00
          Accelerated Potential, Inc.                                           Contingent
          140 Royal Assembly Drive                                              Unliquidated
          Charleston, SC 29492                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Account Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $200.00
          Adams Apple                                                           Contingent
          202 Glenheath Drive                                                   Unliquidated
          Hendersonville, NC 28791                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $60,204.16
          Adams, Hendon, Carson, Crow and Saenger                               Contingent
          P.O. Box 2714                                                         Unliquidated
          Asheville, NC 28802                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Attorneys fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Advanced PC Solutions, Inc.                                           Contingent
          120 Chadwick Avenue, Suite 13                                         Unliquidated
          Hendersonville, NC 28792                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $13,000.00
          Armin L. Wessel Architect                                             Contingent
          P.O. Box 305                                                          Unliquidated
          Burnsville, NC 28714                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $998.00
          Asheville Area Chamber of Commerce                                    Contingent
          P.O. Box 1010                                                         Unliquidated
          Asheville, NC 28802                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $200.00
          Asheville Area Chamber of Commerce                                    Contingent
          P.O. Box 1010                                                         Unliquidated
          Community Betterment Foundation                                       Disputed
          Asheville, NC 28802
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $275.00
          Asheville Regional Airport                                            Contingent
          ATTN: Guest Services Desk                                             Unliquidated
          61 Terminal Drive, Suite 17                                           Disputed
          Fletcher, NC 28732
                                                                             Basis for the claim:    Services Rendered
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $937.00
          Audio/Video Architects                                                Contingent
          P.O. Box 69                                                           Unliquidated
          Saluda, NC 28773                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,162.66
          Auto Owners Insurance                                                 Contingent
          P.O. Box 30315                                                        Unliquidated
          Lansing, MI 48909                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,500.00
          Bradford South and Associates, Inc.                                   Contingent
          714 Oakland Street                                                    Unliquidated
          Hendersonville, NC 28791                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $140,000.00
          Brendon Hamlin                                                        Contingent
          270 Rockbridge Rd                                                     Unliquidated
          Mills River, NC 28759                                                 Disputed
          Date(s) debt was incurred 2010
                                                                             Basis for the claim:    loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,550.00
          Carolina Home & Garden Magazine                                       Contingent
          P.O. Box 1070                                                         Unliquidated
          Flat Rock, NC 28731                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,072.20
          Ceeco Publishing, Inc.                                                Contingent
          P.O. Box 1380                                                         Unliquidated
          Weaverville, NC 28787                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Chad Sharkey                                                          Contingent
          Morris Manning & Martin                                               Unliquidated
          1000 Park Forty Plaza, Suite 350                                      Disputed
          Durham, NC 27713
                                                                             Basis for the claim:    Attorney Fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,035.12
          Chapel Hill Magazine                                                  Contingent
          104-B North Elliot Road                                               Unliquidated
          Chapel Hill, NC 27514                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,082.00
          Charles Brooks                                                        Contingent
          150 Raven Creek Drive                                                 Unliquidated
          Hendersonville, NC 28739                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,753.99
          Chase Card Services                                                   Contingent
          P.O. Box 15153                                                        Unliquidated
          Wilmington, DE 19886-5153                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business credit card purchases
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,052.34
          Clear Water Environmental                                             Contingent
          718 Oakland Street                                                    Unliquidated
          Hendersonville, NC 28791                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $770.00
          Colton Enterprises, Inc.                                              Contingent
          d/b/a Tate's Grading                                                  Unliquidated
          P.O. Box 1023                                                         Disputed
          Mountain Home, NC 28758
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,285.01
          Cranfill, Sumner & Hartzog, LLP                                       Contingent
          P.O. Box 27808                                                        Unliquidated
          Raleigh, NC 27611-7808                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Attorneys fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $189.00
          Critter Control of Charlotte                                          Contingent
          9415 Parkton Road, Suite A                                            Unliquidated
          Charlotte, NC 28215                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $825.00
          Duane L. Lyda Services, LLC                                           Contingent
          59 McElrath Road                                                      Unliquidated
          Arden, NC 28704                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trae debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $344.48
          Duke Energy                                                           Contingent
          P.O. Box 70515                                                        Unliquidated
          Charlotte, NC 28272-0515                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $224.00
          Dun & Bradstreet                                                      Contingent
          75 Remittance Drive, Suite 1793                                       Unliquidated
          Chicago, IL 60675-1793                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,243.69
          Durham Magazine                                                       Contingent
          104-B North Elliott Road                                              Unliquidated
          Chapel Hill, NC 27514                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $19.95
          Dwell                                                                 Contingent
          P.O. Box 5100                                                         Unliquidated
          Harlan, IA 51593-0600                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,830.00
          Ed Holmes and Associates                                              Contingent
          Land Surveyors                                                        Unliquidated
          P.O. Box 17335                                                        Disputed
          Asheville, NC 28816
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $50,000.00
          Elissa Hamlin                                                         Contingent
          20 Narrows Run Loop                                                   Unliquidated
          Hendersonville, NC 28791                                              Disputed
          Date(s) debt was incurred 2010
                                                                             Basis for the claim:    loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,252.34
          Fischer Publications, Inc.                                            Contingent
          P.O. Box 1683                                                         Unliquidated
          Hendersonville, NC 28793                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,524.00
          Focus3, Inc.                                                          Contingent
          201 Shannon Oaks Circle, Suite 200                                    Unliquidated
          Cary, NC 27511                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,602.90
          Frank B. Jackson                                                      Contingent
          Attorney at Law                                                       Unliquidated
          P.O. Box 1666                                                         Disputed
          Hendersonville, NC 28793
                                                                             Basis for the claim:    Attorneys fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,962.00
          Gilbert Grading Inc.                                                  Contingent
          300 Chipmunk Drive                                                    Unliquidated
          Hendersonville, NC 28739                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,400.00
          Gosnell Construction & Utility Co., Inc.                              Contingent
          1745 Pleasant Grove Road                                              Unliquidated
          Hendersonville, NC 28739                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $160,176.07
          Harry's Ditching Service, Inc.                                        Contingent
          15 Flat Hill Lane                                                     Unliquidated
          Penrose, NC 28766                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $395.00
          High Five Enterprises, Inc.                                           Contingent
          P.O. Box 8683                                                         Unliquidated
          Asheville, NC 28814                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,200.00
          Horizons USA Marketing                                                Contingent
          P.O. Box 1078                                                         Unliquidated
          Norris, TN 37828                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $350.00
          Jeff Merrill Asphalt Seal Coating                                     Contingent
          16 Valley Wood Court                                                  Unliquidated
          Asheville, NC 28803                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,527.00
          John Berube                                                           Contingent
          1202 David Mtn. Road                                                  Unliquidated
          Hendersonville, NC 28739                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,490.75
          Johnson, Price and Sprinkle, PA                                       Contingent
          P.O. Box 8385                                                         Unliquidated
          Asheville, NC 28814                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Servicesq
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,000.00
          Journal Communications, Inc.                                          Contingent
          725 Cool Springs Blvd., Suite 400                                     Unliquidated
          Franklin, TN 37067                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20,847.91
          K & L Gates, LLP                                                      Contingent
          K & L Gates Center - RCAC                                             Unliquidated
          210 Sixth Avenue                                                      Disputed
          Pittsburgh, PA 15222
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,859.95
          Kessel Engineering Group                                              Contingent
          582 Hendersonville Road, Suite One                                    Unliquidated
          Asheville, NC 28803                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $230,000.00
          Lee E Sanders                                                         Contingent
          106 Carrington Place                                                  Unliquidated
          Arden, NC 28704                                                       Disputed
          Date(s) debt was incurred      2015                                Basis for the claim:    salary
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $463.21
          Lee Sanders                                                           Contingent
          106 Carrington Place                                                  Unliquidated
          Arden, NC 28704                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,000.00
          Leech, tishman, Fuscaldo & Lampl, LLC                                 Contingent
          525 William Penn Place, 28th Floor                                    Unliquidated
          Pittsburgh, PA 15219                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,726.79
          Leisure Publishing Co.                                                Contingent
          P.O. Box 21535                                                        Unliquidated
          Roanoke, VA 24018                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,050.00
          Linsley, John R. and Marsha                                           Contingent
          7172 Magdelena Drive                                                  Unliquidated
          Orange, CA 92867                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $66,376.19
          McGuire, Wood & Bissette, P.A.                                        Contingent
          P.O. Box 3180                                                         Unliquidated
          Asheville, NC 28802-3180                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Attorneys fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,800.63
          Nexsen Pruet Jacobs & Pollard, P.A.                                   Contingent
          P.O. Drawer 2426                                                      Unliquidated
          Columbia, SC 29202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Attorneys fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,000.00
          O'Cain Design Group                                                   Contingent
          118 Fifth Avenue West                                                 Unliquidated
          Hendersonville, NC 28792                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $500.00
          Pardee Hospital Foundation                                            Contingent
          800 N Justice Street                                                  Unliquidated
          Hendersonville, NC 28791                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Obligation
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $27,200.00
          Paul Patterson                                                        Contingent
          P.O. Box 6114                                                         Unliquidated
          Hendersonville, NC 28793-6114                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $205.01
          Pitney Bowes                                                          Contingent
          P.O. Box 371874                                                       Unliquidated
          Pittsburgh, PA 15250-7874                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $960.00
          Pitts, Hay & Hugenschmidt                                             Contingent
          137 Biltmore Avenue                                                   Unliquidated
          Asheville, NC 28801                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Attorneys fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,325.00
          Private Communitieis Registry, Inc.                                   Contingent
          7550 N. US 1                                                          Unliquidated
          Vero Beach, FL 32967                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $165.30
          PSNC Energy                                                           Contingent
          P.O. Box 100256                                                       Unliquidated
          Columbia, SC 29202-3256                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $743.75
          Randolph C. Romeo                                                     Contingent
          136 South King Street, Suite B                                        Unliquidated
          Hendersonville, NC 28792                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Attorneys fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,735.00
          Randy's Grounds Service                                               Contingent
          150 Rugby Forest Lane                                                 Unliquidated
          Hendersonville, NC 28791                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Carriage Park Associates, LLC                                                           Case number (if known)            16-10255
              Name

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $38,664.00
          Red Top Development                                                   Contingent
          3114 Quilting Road                                                    Unliquidated
          Matthews, NC 28105                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $289.46
          Roto-Rooter                                                           Contingent
          P.O. Box 16622                                                        Unliquidated
          Asheville, NC 28816                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $289.46
          Sam's Club                                                            Contingent
          Sales Division                                                        Unliquidated
          P.O. Box 36490                                                        Disputed
          Louisville, KY 40233
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $500.00
          Simpson's Plumbing & Septic Service                                   Contingent
          540 South Grove Street                                                Unliquidated
          Hendersonville, NC 28792                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,000.00
          Somersby Park HOA                                                     Contingent
          P.O. Box 6215                                                         Unliquidated
          Hendersonville, NC 28793                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,903.50
          Southern Living                                                       Contingent
          Box 223545                                                            Unliquidated
          Pittsburgh, PA 15251-2545                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $31.98
          Stamps.com                                                            Contingent
          P.O. Box 202928                                                       Unliquidated
          Dallas, TX 75320-2928                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Carriage Park Associates, LLC                                                           Case number (if known)            16-10255
              Name

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $100.00
          Staples                                                               Contingent
          Department 00-01966274                                                Unliquidated
          P.O. Box 183174                                                       Disputed
          Columbus, OH 43218-3174
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $998.00
          Steven L. Waggoner, Lic. Surv.                                        Contingent
          545 South Grove Street                                                Unliquidated
          Hendersonville, NC 28792                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,025.07
          Thane Gash Grading and Landscaping                                    Contingent
          P.O. Box 2710                                                         Unliquidated
          Hendersonville, NC 28793                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          U.S. Cellular                                                         Contingent
          P.O. Box 530724                                                       Unliquidated
          Atlanta, GA 30353-0724                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telephone Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $40,142.04
          Vacation Publications, Inc.                                           Contingent
          5851 San Felipe Street, Suite 500                                     Unliquidated
          Houston, TX 77057                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,933.31
          Vulcan Construction Materials LP                                      Contingent
          P.O. Box 75219                                                        Unliquidated
          Charlotte, NC 28275-0219                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,378.50
          Waggoner & Rhodes                                                     Contingent
          545 Old Spartanburg Road                                              Unliquidated
          Hendersonville, NC 28792                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Carriage Park Associates, LLC                                                           Case number (if known)            16-10255
              Name

 3.78      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $813.05
           WHKP                                                                 Contingent
           P.O. Drawer 2470                                                     Unliquidated
           Hendersonville, NC 28793                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.79      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $211,067.00
           Who's Calling                                                        Contingent
           P.O. Box 3675                                                        Unliquidated
           Seattle, WA 98124-3675                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.80      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $700.00
           Xerox Corporation                                                    Contingent
           P.O. Box 650361                                                      Unliquidated
           Dallas, TX 75265-0361                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                       65,918.55
 5b. Total claims from Part 2                                                                            5b.   +    $                    1,235,481.80

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        1,301,400.35




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 Fill in this information to identify the case:

 Debtor name         Carriage Park Associates, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)         16-10255
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Printing from the office.
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Approximately 6
                                                          months                      Xerox Corporation
             List the contract number of any                                          P.O. Box 650361
                   government contract                                                Dallas, TX 75265-0361




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Carriage Park Associates, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)         16-10255
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Carriage Park Associates, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)         16-10255
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          $0.00
       From 1/01/2016 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                 $14,000.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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 Debtor      Carriage Park Associates, LLC                                                              Case number (if known) 16-10255



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                            Dates               Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None

       Custodian's name and Address                             Describe the property                                                    Value
       Arendale                                                 Arendale obtained a default judgment against
                                                                Carriage Park                                                                          $9,700,000.00

                                                                Case title                                                               Court name and address
                                                                Arendale Holdings v. Carriage Park                                       Henderson County
                                                                Case number                                                              Superior COurt
                                                                16 CVS 00137                                                             300 N Grove St
                                                                Date of order or assignment                                              Hendersonville, NC
                                                                2/11/2016                                                                28792


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

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 Debtor        Carriage Park Associates, LLC                                                               Case number (if known) 16-10255



               Recipient's name and address                     Description of the gifts or contributions                Dates given                        Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss        Value of property
       how the loss occurred                                                                                                                               lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).
       Residential damages due to water                         2,000.00                                                 January 2016.                $2,000.00
       leaks.


 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates           Total amount or
                the transfer?                                                                                                                           value
                Address
       11.1.    Elkins Law Office
                228 6th Ave, East
                Suite 1B
                Hendersonville, NC 28792                             Attorney's Fees                                                                 $10,000.00

                Email or website address
                trade@elkinslawfirm.net

                Who made the payment, if not debtor?




       11.2.    Law Offices of Elisabeth
                Murray-Obertein
                140 Fourth Avenue West
                Suite 103
                Hendersonville, NC 28792                             Attorney Fees                                                                    $6,000.00

                Email or website address
                emolegal@yahoo.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.




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 Debtor      Carriage Park Associates, LLC                                                               Case number (if known) 16-10255



       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was               Last balance
               Address                                          account number            instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred


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 Debtor        Carriage Park Associates, LLC                                                            Case number (if known) 16-10255



                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was           Last balance
                Address                                         account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.    Home Trust Bank                                 XXXX-933                     Checking                 February of 2016                     $0.00
                228 6th Ave E                                                                Savings
                Hendersonville, NC 28792
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                             Value
       Dale Hamlin                                                   Office Space                         Personal furniture, pictures,            $15,000.00
       20 Narrow Run Loop                                            Spec House                           tax returns, books, etc.
       Hendersonville, NC 28791                                      Hendersonville, NC 28791


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.


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 Debtor      Carriage Park Associates, LLC                                                              Case number (if known) 16-10255



       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Carriage Park Realty                             Real estate.                                     EIN:         XX-XXXXXXX
             2827 Haywood Rd.
             Hendersonville, NC 28791                                                                          From-To      June 1992 - Present, but not
                                                                                                                            currently selling.


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Lee Sanders                                                                                                                2006 - Present
                    106 Carrington Place
                    Arden, NC 28704

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Capital Funding
                    541 10th St. NW Suite 430
                    Atlanta, GA 30318
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.2.       Icon Commercial Lending
                    6905 S. 1300 East Suite 175
                    Cottonwood Heights, UT 84047


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 Debtor      Carriage Park Associates, LLC                                                              Case number (if known) 16-10255



       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.3.       DNA's Realty and Capital LLC
                    30 Wall St. 8th Floor
                    New York, NY 10005
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.4.       East Side Capital Group Corp
                    626 RxR Plaza West Wing 6th Floor
                    Uniondale, NY 11556
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.5.       Tom Hammond
                    Hammond Securities Company. LLC
                    P.O. Box 6007
                    Laguna Niguel, CA 92607
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.6.       Jack Leachman
                    Anchor Mortgage, LLC
                    41 Clayron St.
                    Asheville, NC 28801
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.7.       Sal Espinoza
                    Business Money Mart
                    salespinoza@businessmoneymart.com
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.8.       Taramare Capital Partners, LLC
                    P.O. Box 2233
                    Hayden, ID 83835
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.9.       Richard Phipps
                    CFS Realty & Management, Inc.
                    1509 Bluehill Ave.
                    Boston, MA 02126
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.10.      Scott Buckiewicz
                    Element Capital Lending, LLC.
                    275 N. Union Blvd., Ste. 140
                    #48
                    Colorado Springs, CO 80920
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.11.      Dan Greenberg
                    Acres Capital
                    300 Jericho Quadrangle Suite 160
                    Jericho, NY 11753
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.12.      JCAP Global Co.
                    80 Barclay Center
                    Suite 3
                    Cherry Hill, NJ 08034-2130

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 Debtor      Carriage Park Associates, LLC                                                              Case number (if known) 16-10255



       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.13.      Prime Millinium, INC. and Mortgage Enter
                    393 Old Country Rd.
                    Suite 301
                    Carle Place, NY 11514
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.14.      Randy Romeo


       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.15.      John Miller


       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.16.      Elizabeth Murray-Obertein
                    140 Fourth Ave. West
                    Suite 103
                    Hendersonville, NC 28792

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Capital Funding Resources
                    541 10th St. NW
                    Suite 430
                    Atlanta, GA 30318
       26d.2.       Icon Commercial Lending
                    6905 S 1300 East
                    Suite 175
                    Cottonwood Heights, UT 84047
       26d.3.       DNA's Realty and Capital, LLC.
                    30 Wall St. 8th Floor
                    New York, NY 10005
       26d.4.       East Side Capital Group, Corp
                    626 RxR Plaza West Wing 6th Floor
                    Uniondale, NY 11556
       26d.5.       Tom Hammond
                    Hammond Securities Co. LLC
                    P.O. Box 6007
                    Laguna Niguel, CA 92607
       26d.6.       Jack Leachman
                    Anchor Mortgage, LLC
                    41 Clayton St
                    Asheville, NC 28801

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 Debtor      Carriage Park Associates, LLC                                                              Case number (if known) 16-10255



       Name and address
       26d.7.       Sal Espinoza
                    Business Money Mart
                    salespinoza@businessmoneymart.com
       26d.8.       Taramarc Capital Partners, LLC.
                    P.O. Box 2233
                    Hayden, ID 83835
       26d.9.       Richard Phipps
                    CFS Realty & Management, INC
                    1509 Bluehill Ave.
                    Boston, MA 02126
       26d.10.      Scott Buckiewicz
                    Element Capital Lending, LLC
                    9275 N. Union Blvd., Ste. 140
                    #48
                    Colorado Springs, CO 80920
       26d.11.      Dan Greenberg
                    Acres Capital
                    300 Jericho Quadrangle
                    Suite 160
                    Jericho, NY 11753
       26d.12.      JCAP Global Co.
                    80 Barclay Center
                    Suite 3
                    Cherry Hill
                    Cherry Hill, NJ 08034
       26d.13.      Prime Millinium, Inc. and Mortgage Enter
                    393 Old Country Rd.
                    Suite 301
                    Carle Place, NY 11514
       26d.14.      Randy Romeo


       26d.15.      John Miller


       26d.16.      Elizabeth Murray-Obertein
                    140 Fourth Ave. West
                    Suite 103
                    Hendersonville, NC 28792

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.




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 Debtor       Carriage Park Associates, LLC                                                             Case number (if known) 16-10255



       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Dale Hamlin                                    20 Narrow Run Loop                                  Member/Manager                      100
                                                      Hendersonville, NC 28791



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates            Reason for
                                                                property                                                                  providing the value
       30.1                                                     500.00
       .                                                        600.00
                                                                621.42                                                   07/01/2015
                                                                300.00                                                   10/05/2015
                                                                200.00                                                   10/06/2015
                                                                300.00                                                   10/07/2015
                                                                450.00                                                   10/09/2015
                                                                200.00                                                   10/13/2015
                                                                200.00                                                   10/15/2015
                                                                100.00                                                   10/20/2015
               Dale Hamlin                                      2,100.00                                                 10/23/2015
               20 Narrow Run Loop                                                                                        10/24/2015
               Hendersonville, NC 28791                         Total 5,571.72                                           10/29/2015       To pay bills.

               Relationship to debtor
               Member/Manager


       30.2                                                     500.00
       .                                                        1,000.00
                                                                250.00
                                                                800.00                                                   07/01/2015
                                                                300.00                                                   07/07/2015
                                                                425.00                                                   09/03/2015
                                                                200.00                                                   10/05/2015
                                                                350.00                                                   10/13/2015
                                                                500.00                                                   10/14/2015
               Elissa Hamlin                                                                                             10/15/2015
               20 Narrow Run Loop                               total                                                    10/21/2015
               Hendersonville, NC 28791                         4,325                                                    11/05/2015       To pay bills.

               Relationship to debtor
               Wife of Member/Manager




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 Debtor       Carriage Park Associates, LLC                                                             Case number (if known) 16-10255



               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.3                                                     100.00
       .                                                        100.00
                                                                100.00                                                                     Lee was not being
                                                                500.00                                                   07/02/2015        paid a salary at
               Lee Sanders                                                                                               07/10/2015        this time and
               106 Carrington Place                             Total                                                    08/05/2015        needed the draws
               Arden, NC 28704                                  800                                                      09/03/2015        to pay bills.

               Relationship to debtor
               Accountant


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         July 28, 2016

 /s/ Dale A. Hamlin                                                      Dale A. Hamlin
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                 Western District of North Carolina
 In re       Carriage Park Associates, LLC                                                                    Case No.      16-10255
                                                                                   Debtor(s)                  Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  5,000.00
             Prior to the filing of this statement I have received                                        $                  5,000.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           Dale Hamlin

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     July 28, 2016                                                                 /s/ Elisabeth Murray-Obertein
     Date                                                                          Elisabeth Murray-Obertein
                                                                                   Signature of Attorney
                                                                                   Law Offices of Elisabeth Murray-Obertein
                                                                                   140 Fourth Avenue West Suite 103
                                                                                   Hendersonville, NC 28792
                                                                                   828-595-9733 Fax: 828-214-6292
                                                                                   emolegal@yahoo.com
                                                                                   Name of law firm




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                                                               United States Bankruptcy Court
                                                                 Western District of North Carolina
 In re      Carriage Park Associates, LLC                                                             Case No.   16-10255
                                                                                  Debtor(s)           Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       July 28, 2016                                             /s/ Dale A. Hamlin
                                                                       Dale A. Hamlin/Manager
                                                                       Signer/Title




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